         Case 1:25-cv-10313-JEK            Document 6       Filed 02/11/25      Page 1 of 4



                        UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF MASSACHUSETTS



ASHTON ORR, ZAYA PERYSIAN,
SAWYER SOE, CHASTAIN ANDERSON,
DREW HALL, BELLA BOE, and REID
SOLOMON-LANE, on behalf of themselves
and others similarly situated,
                                                        Civil Action No. 1:25-cv-10313-JEK
Plaintiffs,

v.

DONALD J. TRUMP, in his official capacity
as President of the United States; U.S.
DEPARTMENT OF STATE; MARCO
RUBIO, in his official capacity as Secretary
of State; and UNITED STATES OF
AMERICA,

Defendants.


              MOTION FOR ADMISSION PRO HAC VICE OF JON W. DAVIDSON

        Pursuant to Local Rule 83.5.3(b) of the Local Rules of United States District Court for

the District of Massachusetts, Plaintiffs, by their undersigned attorneys, hereby move for

admission pro hac vice of their counsel Jon W. Davidson. As grounds, Plaintiffs state:

        1.       Jon W. Davidson is an attorney practicing with American Civil Liberties Union

Foundation (ACLU). Jon W. Davidson is a member in good standing of the Bar of the State of

California. Jon W. Davidson has also been admitted to practice before the United States

Supreme Court; the United States Courts of Appeals for the Fourth, Seventh, Ninth, and Tenth

Circuits; and the United States District Courts for the Central and Northern Districts of

California.

        2.       In further support of their motion, Plaintiffs submit Exhibit A, the Certificate of

Jon W. Davidson, stating that he is a member in good standing of the Bar in every jurisdiction in
                                                   1
         Case 1:25-cv-10313-JEK             Document 6         Filed 02/11/25       Page 2 of 4



which he has been admitted to practice, and that there are no disciplinary proceedings pending

against him as a member of the bar in any jurisdiction; and that he is familiar with the Local Rules of

this Court.


        WHEREFORE, this Court should grant the admission of attorney Jon W. Davidson

pro hac vice to the Bar of this Court.


February 11, 2025                                        Respectfully submitted,

                                                         /s/ Jessie J. Rossman
                                                         Jessie J. Rossman (BBO # 670685)
                                                         American Civil Liberties Union
                                                           Foundation of Massachusetts, Inc.
                                                         One Center Plaza, Suite 850
                                                         Boston, MA 02108
                                                         Tel.: (617) 482-3170
                                                         jrossman@aclum.org

                                                         Jon W. Davidson*
                                                         (admitted only in California)
                                                         Li Nowlin-Sohl*
                                                         (admitted only in Washington)
                                                         Sruti J. Swaminathan*
                                                         Malita V. Picasso*
                                                         AMERICAN CIVIL LIBERTIES UNION
                                                         FOUNDATION
                                                         125 Broad Street, 18th Floor
                                                         New York, NY 10004
                                                         Telephone: 212-549-2500
                                                         Facsimile: 212-549-2650
                                                         jondavidson@aclu.org
                                                         lnowlin-sohl@aclu.org
                                                         sswaminathan@aclu.org
                                                         mpicasso@aclu.org

                                                         Aditi Fruitwala*
                                                         AMERICAN CIVIL LIBERTIES UNION
                                                         FOUNDATION
                                                         915 15th St. NW
                                                         Washington, DC 20005
                                                         afruitwala@aclu.org



                                                     2
Case 1:25-cv-10313-JEK   Document 6    Filed 02/11/25      Page 3 of 4



                               Isaac D. Chaput*
                              COVINGTON & BURLING LLP
                              Salesforce Tower
                              415 Mission Street, Suite 5400
                              San Francisco, California 94105
                              Telephone: 415-591-6000
                              Facsimile: 415-591-6091
                              ichaput@cov.com

                              Ansel F. Carpenter*
                              Gavin W. Jackson*
                              COVINGTON & BURLING LLP
                              1999 Avenue of the Stars
                              Los Angeles, California 90067
                              Telephone: 424-332-4758
                              Facsimile: 424-332-4749
                              acarpenter@cov.com
                              gjackson@cov.com

                              Sean M. Bender*
                              COVINGTON & BURLING LLP
                              One CityCenter
                              850 Tenth Street, NW
                              Washington, DC 20001-4956
                              Telephone: 202-662-5643
                              Facsimile: 202-778-5643
                              sbender@cov.com

                              Alyssa L. Curcio*
                              COVINGTON & BURLING LLP
                              The New York Times Building
                              620 Eighth Avenue
                              New York, NY 10018-1405
                              Telephone: 212-841-1000
                              Facsimile: 212-841-1010
                              acurcio@cov.com

                              *Pro Hac Vice Application Forthcoming

                              Attorneys for Plaintiffs Ashton Orr, Zaya
                              Perysian, Sawyer Soe, Chastain Anderson, Drew
                              Hall, Bella Boe, and Reid Soloman-Lane, on behalf
                              of themselves and others similarly situated




                               3
          Case 1:25-cv-10313-JEK           Document 6       Filed 02/11/25       Page 4 of 4




            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       Although counsel for Defendants have not yet formally entered an appearance in this

case, I, Jessie J. Rossman, hereby certify that in accordance with Local Rule 7.1(a)(2), Plaintiffs'

counsel conferred with counsel who will be representing Defendants via email on February 10,

2025, and they indicated that Defendants will not oppose this motion for pro hac vice.

                                                              /s/ Jessie J. Rossman
                                                              Jessie J. Rossman



                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 11, 2025, a true copy of the foregoing will be
electronically filed with the Clerk of Court using the Cm/ECF system, which will then send a
notification of such filing (NEF). I further certify that on this same date I will send an electronic
copy via email to John J. Robinson and Benjamin Takemoto.

                                                              /s/ Jessie J. Rossman
                                                              Jessie J. Rossman




                                                   4
